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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF VIRGINIA
                           ABINGDON DIVISION

UNITED STATES OF AMERICA                  )
                                          )             ORDER
            v.                            )Case No.: 1:18mj00128-1:18mj000155
                                          )
SHAWN WAYNE FARRIS, et al.                )
   Defendants                             )


      These criminal matters are before the court on Criminal Complaints.
Attached to each Criminal Complaint is an extensive affidavit containing
voluminous information about the cooperation with law enforcement by various
individuals, including some of those charged in these cases. While the Criminal
Complaints and attached affidavits have been unsealed in each of these cases, the
court believes that it should not be in the possession of any defendant held in
custody pending trial based on the potential for its use to threaten and/or intimidate
witnesses. Therefore, it is ORDERED that the affidavit attached to the Criminal
Complaints in each of these cases shall not be provided by counsel to any defendant
held in custody pending trial. Defense counsel may make an electronic copy of the
affidavit and place it on file in a secure location at a detention facility housing a
defendant, and the defendants may view the affidavit electronically.


      The Clerk’s Office shall file this Order in each of these cases.



      ENTERED:            October 5, 2018.

                                       /s/ Pamela Meade Sargent
                                       UNITED STATES MAGISTRATE JUDGE
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